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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                     ***
                 7      UNITED STATES OF AMERICA,                              Case No. 2:14-CR-220 JCM (GWF)
                 8                                             Plaintiff(s),                      ORDER
                 9              v.
               10       COLLETTE WINN, et al.,
               11                                            Defendant(s).
               12
               13              Presently before the court is United States v. Winn, case no. 2:14-cr-00220-JCM-GWF.
               14       Collette Winn (“petitioner”) filed a motion to vacate, set aside, or correct sentence pursuant to 28
               15       U.S.C. § 2255. (Doc. #55). The United States (“respondent”) has not filed a response to the motion
               16       and more than 30 days have passed.
               17              Accordingly,
               18              It is ORDERED that respondent file a response to petitioner’s motion to vacate, set aside,
               19       or correct sentence pursuant to 28 U.S.C. § 2255 no later than 14 days from the date of this order.
               20              DATED February 8, 2016.
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               22                                                     UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
